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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

DROPBOX, INC.,

                      Plaintiff/Counter-
                      Defendant,

       v.
                                                Civil Action No.: 6:20-cv-00251-ADA
MOTION OFFENSE, LLC,

                      Defendant/Counter-
                      Plaintiff.


MOTION OFFENSE, LLC,

                      Plaintiff,

       v.

DROPBOX, INC.,                                  Civil Action No.: 6:21-cv-758-ADA

                      Defendant.



   JOINT MOTION FOR ENTRY OF FOURTH AMENDED SCHEDULING ORDER

       Pursuant to the Court’s July 6, 2022 instruction, Dropbox, Inc. (“Dropbox”) and Motion

Offense LCC (“Motion Offense”) hereby submit this Joint Motion for Entry of Fourth Amended

Scheduling Order attached as Exhibit A.
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 Dated: July 18, 2022                           Respectfully submitted,

 /s/ Timothy Devlin                             /s/ Liv Herriot
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                                                Attorneys for Dropbox, Inc.




                                 CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on July 18, 2022.

                                              /s/ Timothy Devlin
                                              Timothy Devlin




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